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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                         )
    In re:                                               )   Chapter 11
                                                         )
    PRIME CORE TECHNOLOGIES INC.,                        )   Case No. 23-11161 (JKS)
    et al.,1                                             )   (Jointly Administered)
                                                         )
                             Debtors.                    )   Objection Deadline: December 28, 2023 at 4:00 p.m. (ET)
                                                         )   Hearing Date: To be determined if response filed.


                                          NOTICE OF APPLICATION

             PLEASE TAKE NOTICE that on December 7, 2023, the Official Committee of

Unsecured Creditors (the “Committee”), by and through the Committee’s undersigned counsel,

filed the Second Monthly Fee Application of Brown Rudnick LLP, as Counsel for the Official

Committee of Unsecured Creditors for Allowance of Interim Compensation and for

Reimbursement of Disbursements Incurred for the Period October 1, 2023 Through October 31,

2023 (the “Application”) with the United States Bankruptcy Court for the District of Delaware

(the “Bankruptcy Court”).

             PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses of Professionals [Docket

No. 149] (the “Interim Compensation Order”), objections, if any, to the Application must be filed

with the Clerk of the United States Bankruptcy Court for the District of Delaware, 824 North

Market Street, 3rd Floor, Wilmington, Delaware 19801, and be served upon: (a) the Debtors,

10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135 (Attn: Jor Law); (b) counsel for the

Debtors, (i) McDermott Will & Emery LLP, 1000 N. West Street, Suite 1400, Wilmington, DE


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             The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
             identification number are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA LLC
             (8436); and Prime Digital, LLC (4528). The Debtors’ service address is 10845 Griffith Peak Dr., #03-153,
             Las Vegas, NV 89135.
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19801 (Attn: Maris J. Kandestin), and One Vanderbilt Avenue, New York, NY 10017 (Attn:

Darren Azman and Joseph B. Evans), and 333 SE 2nd Avenue, Suite 5400, Miami, FL 33131

(Attn: Gregg Steinman); (c) counsel for the Official Committee of Unsecured Creditors: (i)

Womble Bond Dickinson (US) LLP, 1313 North Market Street, Suite 1200, Wilmington, DE

19801 (Attn: David M. Banker and Donald J. Detweiler) and (ii) Brown Rudnick LLP, 7 Times

Square, New York, NY 10036 (Attn: Robert Stark; Bennett Silverberg); and (d) the Office of the

United States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, Delaware 19801 (Attn: Joseph Cudia) by no later than December 28, 2023 at 4:00

p.m. (prevailing Eastern Time). A hearing on the Application shall be held only in the event

timely objections are filed.

       PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.

Dated: December 7, 2023                    WOMBLE BOND DICKINSON (US) LLP
Wilmington, Delaware
                                           /s/ Donald J. Detweiler
                                           Donald J. Detweiler (DE Bar No. 3087)
                                           Elazar A. Kosman (DE Bar No. 7077)
                                           1313 North Market Street, Suite 1200
                                           Wilmington, Delaware 19801
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                                           Counsel to the Official Committee of Unsecured
                                           Creditors




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